                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

ROSEMARY A. SALERNO,                           )
                                               )
                          Plaintiff,           )
                                               )      Case No. 19-00145-CV-W-BP
     vs.                                       )
                                               )
MPI MANAGEMENT, LLC,                           )
                                               )
                          Defendant.           )


                                         JURY VERDICTS




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